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                                jUDGE FRANK

                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION

                                                       §
BRANDON CALLIER,                                       §                  -


                                                       §
                               Plaintiff,              §
                                                       §
                v.                                     §
                                                       §
NIVAN TECH, LLC a New Jersey limited liability
Company and GNANAVEL MADASAMY                  §
                                                       §
                                                       §
                               Defendants.             §
                                                       §



                           PLAINTIFF'S ORIGINAL COMPLAINT

                                                PARTIES

1.       The Plaintiff is BRANDON CALLIER ("Plaintiff') a natural person, resident of the

Western District of Texas, and was present in Texas for all calls, in this case in El Paso County,

Texas.

2.       Defendant NI VAN TECH, LLC ("Nivan") is limited liability company organized and

existing under the laws of New Jersey and can be served via registered agent Gnanavel

Madasamy at 8207 Tamarron Drive, Plainsboro, New Jersey 08536.

3.       Defendant GNANAVEL MADASAMY ("Madasamy") is a natural person, resident of

New Jersey, Founder and Managing Officer of Nivan Tech, LLC and can be served at 8207

Tamarron Drive, Plainsboro, New Jersey 08536.

                                  JURISDICTION AND VENUE

4.       Jurisdiction. This Court has federal-question subject matter jurisdiction over Plaintiffs

TCPA claims pursuant to 28 U.S.C.     § 1331   because the TCPA is a federal statute. Mims v. Arrow

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Fin. Servs.,   LLC, 565 U.S. 368, 372 (2012). This Court has supplemental subject matter

jurisdiction over Plaintiff's claim arising under Texas Business and Commerce Code 302.101

because that claim arises from the same nucleus of operative fact, i.e., Defendants' telemarketing

robocalls to Plaintiff; adds little complexity to the case.

5.      Personal Jurisdiction. This Court has general personal jurisdiction over the defendants

because they have repeatedly placed calls to Texas residents, and derive revenue from Texas

residents, and they sell goods and services to Texas residents, including the Plaintiff.

6.      Venue. Venue is proper in this District pursuant to 28 U.S.C.       § 139 1(b)(1)-(2)   because a

substantial part of the events giving rise to the   claimsthe calls and sale of goods and services
directed at Texas residents, including the Plaintiffoccurred in this District and because the

Plaintiff resides in this District. Residing in the Western District of Texas when he received a

substantial if not every single call from the Defendants that are the subject matter of this lawsuit.

7.      This Court has venue over the defendants because the calls at issue were sent by or on

behalf of the above-named Defendants to the Plaintiff, a Texas resident.

                       THE TELEPHONE CONSUMER PROTECTION ACT

                                        OF 1991,47 U.S.C. § 227

8.      In 1991, Congress enacted the TCPA to restrict the use of sophisticated telemarketing

equipment that could target millions of consumers        en masse.   Congress found that these calls

were not only a nuisance and an invasion of privacy to consumers specifically but were also a

threat to interstate commerce generally.   See   S.   Rep. No. 102-178, at 2-3 (1991), as reprinted in

1991 U.S.C.C.A.N. 1968, 1969-71.

9.      The TCPA makes it unlawful "to make any call (other than a call made for emergency

purposes or made with the prior express consent of the called party) using an automatic
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telephone dialing system or an artificial or prerecorded voice ... to any telephone number

assigned to a ... cellular telephone service." 47 U.S.C.        §   227(b)(l )(A)(iii).

10.       The TCPA makes it unlawful "to initiate any telephone call to any residential telephone

line using an artificial or prerecorded voice to deliver a message without the prior express

consent of the called party, unless the call is initiated for emergency purposes, is made solely

pursuant to the collection of a debt owed to or guaranteed by the United States, or is exempted

by rule or order" of the Federal Communication Commission ("FCC"). 47 U.S.C.              §

227(b)( 1 )(B).

11.       The TCPA provides a private cause of action to persons who receive calls in violation of

§   227(b). 47 U.S.C.   §   227(b)(3).

12.       Separately, the TCPA bans telemarketing calls without a do-not-call policy available

upon demand. 47 U.S.C.         §   227(c); 47 C.F.R. §   64.1200(d)(l).1


13.       The TCPA provides a private cause of action to persons who receive calls in violation of

§   227(c) or a regulation promulgated thereunder. 47 U.S.C.           §   227(c)(5).

14.       According to fmdings of the FCC, the agency vested by Congress with authority to issue

regulations implementing the TCPA, automated or prerecorded telephone calls are a greater

nuisance and invasion of privacy than live solicitation calls and can be costly and inconvenient.

15.       The FCC also recognizes that "wireless customers are charged for incoming calls whether

they pay in advance or after the minutes are used." In re Rules and Regulations Implementing

the Tel. Consumer Prot. Act of 1991, 18 FCC Red. 14014, 14115 ¶ 165 (2003).

16.       The FCC requires "prior express written consent" for all autodialed or prerecorded




      Code of Federal Regulations, Title 47, Parts 40 to 60, at 425 (2017)
    See
(codifying a June 26, 2003 FCC order).
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telemarketing robocalls to wireless numbers and residential lines. In particular:[A} consumer's

written consent to receive telemarketing robocalls must be signed and be sufficient to show that

the consumer: (1) received clear and conspicuous disclosure of the consequences of providing

the requested consent, i.e., that the consumer will receive future calls that deliver prerecorded

messages by or on behalf of a specific seller; and (2) having received this infonnation, agrees

unambiguously to receive such calls at a telephone number the consumer designates. In addition,

the written agreement must be obtained without requiring, directly or indirectly, that the

agreement be executed as a condition of purchasing any good or service.

17.      In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991,

27 FCC Red. 1830, 1844 ¶ 33 (2012) (footnote and internal quotation marks omitted). FCC

regulations "generally establish that the party on whose behalf a solicitation is made bears

ultimate responsibility for any violations." In the Matter of Rules and Regulations Implementing

the Tel. Consumer Prot. Act of 1991, 10 FCC Red. 12391, 12397 ¶ 13 (1995).

18.      The FCC confirmed this principle in 2013, when it explained that "a seller ... may be

held vicariously liable under federal common law principles of agency for violations of either

section 227(b) or section 227(c) that are committed by third-party telemarketers." In the Matter

ofthe   Joint Petition Filed by Dish Network, LLC, 28 FCC Red. 6574, 6574 ¶ 1 (2013).

19.      Under the TCPA, a text message is a call. Satterfield v. Simon & Schuster, Inc., 569 F.3d

946, 951   52 (9th Cir. 2009).
20.      A corporate officer involved in the telemarketing at issue may be personally liable under

the TCPA. E.g., Jackson Five Star Catering, Inc.     v.   Beason, Case No. 10-10010, 2013 U.S. Dist.

LEXIS 159985, at *10 (E.D. Mich. Nov. 8, 2013) ("[M}any courts have held that corporate

actors can be individually liable for violating the TCPA where they had direct, personal



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participation in or personally authorized the conduct found to have violated the statute." (internal

quotation marks omitted)); Maryland v. Universal Elections, 787 F. Supp. 2d 408, 415           16 (D.

Md. 2011) ("If an individual acting on behalf of a corporation could avoid individual liability,

the TCPA would lose much of its force.").

                        The Texas Business and Commerce Code § 302.101

21.    The Texas Business and Commerce Code requires sellers to obtain a registration

certificate from the Secretary of State in order to make telephone solicitations inside the state of

Texas or to residents located in the state of Texas.

22.    The Plaintiff may seek damages for violations of Texas Business and Commerce Code                §

302.101 of up to $5,000 per violation, reasonable costs of prosecuting the action, court costs,

investigation costs, depositions expenses, witness fees, and attorney's fees. Tx. Bus. Corn Code

302.302(a), 302.302(d).

23.    Texas Business and Commerce Code        §   302.10 1 provides a private right of action. A

violation of Chapter 302 "is a false, misleading, or deceptive act or practice under Subchapter E,

Chapter 17" and is enforceable as such: "A public or private right or remedy prescribed by

Subchapter E, Chapter 17, may be used to enforce [Chapter 302.]" Tex. Bus. & Corn. Code §

I)*fiJ
24.    The use or employment by any person of a false, misleading, or deceptive act or practice"

causes "economic damages or damages for mental anguish." Tex. Bus. & Corn. Code            §   17.50.

                                    FACTUAL ALLEGATIONS

25.    Plaintiff has been on the National Do-Not-Call Registry since December 2007.

26.    Defendant Madasamy formed Niven Tech, LLC in September 2014 as the sole officer

and registered agent.



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27.    Defendant Niven operates as a front for the illegal "student loan forgiveness" schemes

conducted by Madasamy and his cohorts.

28.    On January 7, 2022, Plaintiff received a phone call from the Defendants advertising

student loan forgiveness. The telemarketer did not properly identify himself and portrayed

himself an employee and/or agent of the United States Government.

29.    Defendants illegally accessed reset Plaintiff's password at http://studentaid.gov and

accessed Plaintiff's student aid account without his knowledge or permission.

30.    Plaintiff pretended to be interested in the student loan forgiveness services of the

Defendants in order to find out who was robocalling Plaintiff.

31.    On January 7, 2022, Defendants sent Plaintiff a contract that did not contain the

Defendants company name, company address, a contract person's name, or a working traceable

phone number.

32.    Plaintiff advised the Defendants that he would not sign a contract that did not contain the

company information and to cease calling Plaintiff.

33.    On January 7, 2022, Defendants sent Plaintiff a text message stating "We are not any

third party company Brandon. We are student aid support team and we work under the federal

government" implying they are affiliated directly with, or work on behalf of, the federal

government.

34.    Defendants continued to contact Plaintiff despite being told to stop. Plaintiff asked for a

company address during one of these contacts. Defendants responded to this request by sending

Plaintiff a text message stating "Our address is P.O.Box 419027, Rancho Cordova, CA 95741-

9027. But due to the pandemic we are working from home."

35.    Plaintiff researched the address in ¶ 34 given by the Defendants. This address belongs to
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the California Student Aid Commission.

36.    Defendants also attempted to impersonate the California state government.

37.    Defendants continued to call and harass Plaintiff about signing the contract. Plaintiff

realized the only way to fmd out who was committing fraud was to allow the Defendants to

charge his credit card.

38.    On January 10, 2022, Defendants' agent "Justin" called Plaintiff and the following

conversation occurred:

       Justin: Hello Brandon, this is Justin. You said you'd be giving me a call.
       Plaintiff: I got busy what's going on?
       Justin: Yeah, Brandon, like we have all the documents, like you're the one who has to
       sign the documents.
       Plaintiff: Yeah, that's cause I can't figure out who I'm dealing with and I don't want to
       sign paperwork without knowing who I'm dealing with.
       Justin: Ok, I told you Brandon that we are giving you a call from the Federal
       Government and we work with the student aid.

39.    On January 11, 2022, Plaintiff signed the contract in order to find out who was

impersonating federal officials, state officials, and attempting to commit the fraud.

40.    The Defendants charged Plaintiff's credit card. and the Defendants charged his credit

card. Plaintiff checked his credit card statement and saw the $450 charge was from Defendant

Nivan Tech, LLC.

41.    Plaintiff searched Nivan Tech, LLC online and discovered it was owned by Defendant

Madasamy.

42.    Defendant Madasamy instructed his employees, agents and co-conspirators to

impersonate federal officials, send contracts with no contact information in order to commit

fraud anonymously, and collect payment upfront in advance of services rendered in violation of

the Telemarketing Sales Rules (T.S.R.). 16 C.F.R.    §   310.4(a)(5)(i).

43.    Defendant Nivan masquerades as a technology software company but is actually a front

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for an illegal "student loan forgiveness" company that commits fraud on a grand scale.

44.    On January 12,2022, Plaintiff told Defendants to cancel the contract and to never call

Plaintiff again. The Defendants immediately called Plaintiff back. Plaintiff told the Defendants'

representative "Didn't I just tell you to cancel my contract and to never call me again?"

45.    Plaintiff sent "Do not call" requests via email, voice, and text. Yet the Defendants still

persisted with contacting Plaintiff.

46.    The Plaintiff received at least 15 calls over seven (7) days to his cell phone ending in

4604 without his prior express consent and not related to an emergency purpose, selling "Student

Loan Forgiveness" products and services of Defendant Nivan.

47.    Plaintiff did not want or need services from the Defendants, but pretended to be

interested for the sole purpose of identifying who was impersonating federal officials and

attempting to commit fraud.

48.    Defendants lead Plaintiff to believe payments would be applied to his student loan

balance and applied towards services of the Defendants.

49.    The Defendants' representative made repeated calls to Plaintiff asking Plaintiff to sign

the contract without providing Plaintiff with enough time to read the contract or research the

company or the claims made by the Defendants' representative. The representative kept telling

Plaintiff how "urgent" it was to sign the documents in an attempt to get Plaintiff to sign the

documents without reading them.

50.    Table below displays calls made to Plaintiff by Defendants:




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      I
          Date                  Time                 Caller ID
          1/7/2022              5:21 PM              760-367-8864
          1/7/2022              5:23 PM              760-367-8864
          1/7/2022              5:35 PM              760-367-8864
          1/7/2022              5:38 PM              760-367-8864
          1/7/2022              5:41 PM              760-367-8864
          1/7/2022              5:48 PM              760-367-8864
          1/7/2022              6:15 PM              760-367-8864
          1/7/2022              6:24 PM              760-367-8864
          1/7/2022              6:34 PM              760-367-8864
          1/7/2022              6:37PM               760-367-8864
          1/10/2022             1:49PM               760-367-8864
          1/10/2022             3:58PM               760-367-8864
          1/10/2022             4:19PM               760-367-8864
          1/13/2022             1:23PM               760-367-8864
          1/13/2022             1:24PM               760-367-8864

51.         Defendants collectively knowingly and willfully mislead Plaintiff with respect to the

forgiveness of his student loans.

52.         Defendants do not have a solicitation registration certificate on file with the Texas

Secretary of State as required to make telephone solicitations to Texas residents. Plaintiff is a

Texas resident.

53.         Defendants initiated numerous unsolicited telephone calls, made unlawful telemarketing

sales pitches regarding student loan forgiveness, misrepresented themselves as federal employees

andlor agents, unlawfully collected payments upfront, unlawfully collected Plaintiff personal

information, such as social security number, email address, address, credit card issuer, bank

account number, bank account routing number, and home address.

54.          Defendant Madasamy participated in, facilitated, directed, authorized, knew of, or

willfully        ignored the unlawful robocalling, while knowing facts that required a reasonable person

to investigate further, and approved, and ratified the conduct of his employees, agents, and co-


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conspirators to engage in the false and misleading sales practices and unlawful robocalling.

55.      Each and every call was placed without the maintenance of an internal do-not-call policy.

Each and every call failed to identify the telemarketers and parties they were calling on behalf of.

Each and every call was placed without training their agents/employees on the use of an internal

do-not-call policy

56.      Plaintiff has limited data storage capacity on his cellular telephone. Incoming

telemarketing calls consumed part of this capacity.

57.      No emergency necessitated the calls.

58.      None of the Defendants ever sent Plaintiff any do-not-call policy.

59.      On information and belief, the Defendants did not have a written do-not-call policy while

it was sending Plaintiff the unsolicited calls.

60.      On information and belief, the Defendants did not train its agents who engaged in

telemarketing on the existence and use of any do-not-call list.

                     DEFENDANT MADASAMY IS PERSONALLY LIABLE

61.      "If the officer directly participated in or authorized the statutory violation, even though

acting on behalf of the corporation, he may be personally liable. See United States v Pollution

Serv.   Of Oswego, Inc., 763 F.2d 133, 134-135 (2d Cir.1985).

62.      The "well-settled" tort rule provides that "when corporate officers directly participate in

or authorized the commission of a wrongful act, even if the act is done on behalf of the

corporation, they may be personally liable." General Motos Acceptance Corp.         v.   Bates, 954 F.2d

1081, 1085 (5th Cir. 1992). The Fifth Circuit has elaborated that "the thrust   of the general [tort]

rule is that the officer to be held personally liable must have some direct, personal participation

in the tort, as where the defendant was the 'guiding spirit' behind the wrongful conduct.. . .or the



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'central figure' in the challenged corporate activity." Mozingo v. Correct Mfg. Corp., 752 F.2d

168, 174 (5th Cirt. 1985) (Citing Escude Cruz v. Ortho Pharmaceutical Corp., 619 F. 2d 902, 907

(ist
       Cir.1980)) (Citing Texas v. American Blastfax, Inc., 164 F. Supp. 2d 892 (W.D. Tex. 2001)

63.       Quoting Texas v. American Blastfax:

              The Court finds the above principles applicable to the TCPA that is, an officer may be
              personally liable under the TCPA if he had direct, personal participation in or
              personally authorized the conduct found to have violated the statute, and was not
              merely tangentially involved. Individuals who directly (and here, knowingly and
              willfully) violate the TCPA should not escape liability solely because they are
              corporate officers. As the State persuasive argues, to hold otherwise would allow the
              individual defendants to simply dissolve Blastfax, set-up a new shell corporation, and
              repeat their conduct. Congress surely did not intend to permit such a result in passing
              the TCPA.


              To be clear, the Court finds Greg and Michael Home were the "guiding spirits" an the
              "central figures" behind the TCPA violations. They were the two persons who
              controlled all of Blastfax's day-to-day operations. They both had direct, personal
              involvement in and ultimate control over every aspect of Blastfax's wrongful contact
              that violate the TCPA, and/or directly controlled and authorized this conduct. And
              they did so with their eyes and pocketbooks wide open. After October 5, 2000, Greg
              and Michael Home had good reason to believe they were running a business that
              violated the TCPA. On February 9,2001, they knew they were. Yet they continued
              to direct their company to send unsolicited intrastate fax advertisements. This is fare
              more than a simple derivative liability case. Accordingly, the Court *899 holds
              defendants Greg and Michael Home are jointly and severally liable with Defendant
              Blastfax, Inc., for all TCPA damages in this lawsuit." Texas v. American Blastfax,
              Inc., 164 F. Supp. 2d 892 (W.D. Tex. 2001)

64.     The Same Court held that corporate officers were also personally liable for DTPA
violations

              The State contends Greg and Michael Home are personally liable for any DTPA
              damages because they were solely responsible for the violating conduct ..... For the
              same reasons discussed in finding the individual defendants personally liable under
              the TCPA, the Court agrees. See, e.g., Barclay v. Johnson, 686 S.W.2d 334, 336-37
              (Tex. Civ. App.-Houston [isT Dist.] 1985, no writ) (finding personal liability for
              corporate officer in DTPA misrepresentation claim, based on general rule that "a

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               corporate agent knowingly participating in a tortious of fraudulent act may be held
               individually liable, even though he performed the act as an agent for the
               corporation ...... Accordingly, the Court finds defendants American Blastfax, Inc.,
               Greg Home and Michael Home are jointly and severally liable for $6,000 in damages
               for their violations of the DTPA." Texas v. American Blastfax, Inc., 164 F. Supp. 2d
               892 (W.D. Tex. 2001

65.        At all times material to the Complaint, acting alone or in concert with others, Defendant

Madasamy has formulated, directed, controlled, had the authority to control, or participated in

the acts and practices of Defendant Nivan, including the acts or practices set forth in this

Complaint.

66.        Defendant Madasamy is the principal director and operator of Defendants Nivan and

controls the day-to-day operations of Nivan and directed his employees, agents, salespersons,

and solicitors to make TCPA violating phone calls and to solicit "student loan forgiveness" and

"student loan consolidation" services and to lie and misrepresent themselves as federal officials.

67.        Defendant Madasamy approved the telemarketing scripts, signed the contracts, paid

commissions for the illegal behavior, and directed the illegal calls to be made for their financial

benefit.

68.        Defendants Madasamy and Nivan collect their fees for the "student loan forgiveness" and

"student loan consolidation" through a credit card payments and authorized checks processed

prior to providing any services. This is an unlawful payment processing scheme that collects

payments in advance of services rendered in violation of the TSR. 16 C.F.R.       §   310.2(cc) and 16

C.F.R.   §   310.4(a)(5)(i).

69.        Defendant Madasamy knew the collection of fees before rendering service illegal.

70.        Defendants Madasamy and Nivan knowingly and willfully ignore the law. They solicit

the services of student loan forgiveness and collect money upfront before any services are



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performed or any debts are forgiven. The violations are the direct result of the instructions

Defendant Madasamy has given to his agents, employees, solicitors, salespersons, and others that

carry out his schemes.

71.    Defendant Madasamy is not merely a bystander. He is the mastermind that schemed,

planned, directed, initiated and controlled the illegal and fraudulent behavior.

72.    Defendant Madasamy is well aware the conduct violated the TCPA and Tex. DPTA and

refused to alter the behavior. Defendant Madasamy is the sole director of Nivan and the only

persons with the power to make the unlawful, fraudulent, and unethical behavior stop. Yet, he

has taken no steps to stop the behavior because the behavior benefits him financially. Defendant

Madasamy breaks the law with his eyes and pocketbooks wide open.

73.     Defendants Madasamy and Niven should be held jointly and severally liable for both the

TCPA violations and Tex. Bus. Corn. Code 302.101 via the Tex. DTPA because he actually

committed the conduct that violated the TCPA and Tex. DTPA, andlor he actively oversaw and

directed this conduct.

74.     Defendant Madasamy should be held liable because to do otherwise would simply allow

the individual to simply dissolve Niven and set up a new corporation, and repeat his conduct.

This would result in both the TCPA and DTPA being unenforceable.


                  INJURY, HARM, DAMAGES, and ACTUAL DAMAGES

                                 AS A RESULT OF THE CALLS

75.     Defendants' calls harmed the Plaintiff by causing the very harm that Congress sought to

preventa "nuisance and invasion of privacy."
76.     Defendants' calls harmed the Plaintiff by trespassing upon and interfering with Plaintiff's

rights and interests in Plaintiff's cellular telephone.


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77.    Defendants' calls harmed the Plaintiff by intruding upon Plaintiff's seclusion.

78.    Plaintiff has been harmed, injured, and damages by the calls including, but not limited to:

reduced device storage, reduced data plan usage, anger, frustration, invasion of privacy, and

more frequent charging of my cell phone.

                       The Plaintiff's cell phone is a residential number

79.    The calls were to the Plaintiff's cellular phone 4604 which is the Plaintiff's personal cell

phone that he uses for personal, family, and household use. The Plaintiff maintains no landline

phones at his residence and has not done so for at least 15 years and primarily relies on cellular

phones to communicate with friends and family. The Plaintiff also uses his cell phone for

navigation purposes, sending and receiving emails, timing food when cooking, and sending and

receiving text messages. The Plaintiff further has his cell phone registered in his personal name,

pays the cell phone from his personal accounts, and the phone is not primarily used for any

business purpose.

                Violations of the Texas Business and Commerce Code 305.053


80.    The actions of the Defendants violated the Texas Business and Commerce Code 305.053

by placing automated calls to a cell phone which violate 47 USC 227(b). The calls by the

Defendant violated Texas law by placing calls with a pre-recorded message to a cell phone which

violate 47 USC 227(c)(5) and 47 USC 227(d) and 47 USC 227(d)(3) and 47 USC 227(e).

81.    The calls by the Defendants violated Texas law by spoofmg the caller ID's per 47 USC

227(e) which in turn violates the Texas statute.


               Violations of the Texas Business and Commerce Code § 302.101

82.    The actions of the Defendants violated the Texas Business and Commerce Code 302.101

by placing solicitation phone calls to a Texas resident without having registration certificate and

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bond on file with the Texas Secretary of State.

83.      Under the Texas Business and Commerce Code § 302.302 Plaintiff is entitled to seek

damages of up to $5000 per violation of §302.101

                                       I.      FIRST CLAIM FOR RELIEF

                 (Telemarketing Without Mandated Safeguards, 47 C.F.R. § 64.1200(c))

                                            (Against All Defendants)

         1.         Mr. Callier realleges and incorporates by reference each and every allegation set

         forth in

the preceding paragraphs.

         2.         The foregoing acts and omissions of Defendant andlor their affiliates or agents

         constitute

a violation of FCC regulations by making multiple telemarketing solicitations to a consumer on

the national do-not-call registry within a 12-month period in violation of 47 C.F.R.     §

64.1 200(c)(2).

         3.         Mr. Callier is entitled to an award of at least $500 in damages for each such

         violation. 47

U.S.C.   §    227(c)(5)(B).


                                    II. SECOND CLAIM FOR RELIEF

               (Telemarketing Without Mandated Safeguards, 47 C.F.R. § 64.1200(d))

                                         (Against All Defendants)

         1.         Mr. Callier realleges and incorporates by reference each and every allegation set

forth in the preceding paragraphs.




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       2.          The foregoing acts and omissions of Defendants and/or their affiliates or agents

constitute multiple violations of FCC regulations by making telemarketing solicitations despite

lacking:

                 a.         a written policy, available upon demand, for maintaining a do-not-call list,

in violation of 47 C.F.R. §     64.1200(d)(1);2


                 b.         training for the individuals involved in the telemarketing on the existence

of and use of a do-not-call list, in violation of 47 C.F.R.    § 64.1200(d)(2);3   and,

                 c.         in the solicitations, the name of the individual caller and the name of the

person or entity on whose behalf the call is being made, in violation of 47 C.F.R.        §

64.1 200(d)(4).4

        3.         Mr. Callier is entitled to an award of at least $500 in damages for each such

violation. 47 U.S.C.    §   227(c)(5)(B).

        4.         Mr. Callier is entitled to an award of up to $1,500 in damages for each such

knowing or willful violation. 47 U.S.C.       §   227(c)(5).

        5.         Mr. Callier also seeks a permanent injunction prohibiting Defendants and their

affiliates and agents from making telemarketing solicitations until and unless they (1) implement

a do-not-call list and training thereon and (2) include the name of the individual caller and AFS's

name in the solicitations.




2
 See   Id.   at 425 (codifying a June 26, 2003 FCC order).
 See   id.   at 425 (codifying a June 26, 2003 FCC order).
"See   id.   at 425   26 (codifying a June 26, 2003 FCC order).
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                                 III. THIRD CLAIM FOR RELIEF:

                   Violations of The Texas Business and Commerce Code 305.053

       1.          Mr. Callier realleges and incorporates by reference each and every allegation set

forth in the preceding paragraphs.

       2.        The foregoing acts and omissions of Defendants and/or their affiliates or agents

constitute multiple violations of the Texas Business and Commerce Code 305.053, by making

non-emergency telemarketing robocalls to Mr. Callier's cellular telephone numbers without his

prior express written consent in violation of 47 USC 227 et seq. The Defendant violated 47 Usc

227(d) and 47 usc 227(d)(3) and 47 usc 227(e) by using an ATDS that does not comply with

the technical and procedural standards under this subsection.

       3.        Mr. Callier is entitled to an award of at least $500 in damages for each such

violation. Texas Business and Commerce Code 305.053(b)

       4.        Mr. Callier is entitled to an award of up to $1,500 in damages for each such

knowing or willful violation. Texas Business and Commerce Code 305.053(c).


                                 IV. FOURTH CLAIM FOR RELIEF

                   (Violations of The Texas Business and Commerce Code 302.101)

        1.         Mr. Callier realleges and incorporates by reference each and every allegation set

forth in the preceding paragraphs.

       2.        The foregoing acts and omissions of Defendants and/or their affiliates or agents

constitute multiple violations of the Texas Business and Commerce Code 302.101, by making

non-registered solicitation calls to Plaintiff's cellular telephone number without his prior express

written consent.



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       3.        Mr. Callier is entitled to an award of up to $5,000 in damages for each such

knowing or willful violation. Texas Business and Commerce Code 302.302.

       4.        Mr. Callier is entitled to an award for all reasonable costs of prosecuting the

action, including court costs and investigation costs, deposition expenses, witness fees and

attorney's fees.


                                       V. PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Brandon Callier prays for judgment against the defendants

jointly and severally as follows:

        A.         Leave to amend this Complaint to name additional DOESs as they are identified

and to conform to the evidence presented at trial;

        B.         A declaration that actions complained of herein by Defendants violate the TCPA

and Texas state law;

        C.         An injunction enjoining Defendant and their affiliates and agents from engaging

in the unlawful conduct set forth herein;

        D.         An award of $1500 per call in statutory damages arising from the TCPA

intentional violations jointly and severally against the corporation for 15 calls.

        E.         An award of $1,500 in statutory damages arising from violations of the Texas

Business and Commerce code 305.053

        F.         An award of $5,000 in statutory damages arising from violations of the Texas

Business and Commerce code 302.101.

        G.         An award to Mr. Callier of damages, as allowed by law under the TCPA;

        H.         An award to Mr. Callier of interest, costs and attorneys' fees, as allowed by law

and equity

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       I.       Such further relief as the Court deems necessary, just, and proper.


January 18, 2022                              Respectfully submitted,




                                              Brandon Callier
                                              Plaintiff, Pro Se
                                              6336 Franklin Trail
                                              El Paso, TX 79912
                                              915-383-4604
